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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
                v.                            )       Criminal No: 1:17-cr-10339-WGY
                                              )
STEPHANIE DIPIERRO,                           )
          Defendant.                          )

                         ASSENTED-TO MOTION TO POSTPONE
                       DEFENDANT’S DATE OF SELF-SURRENDER

       The United States of America, by and through the undersigned Special Assistant United

States Attorney, respectfully moves this Court to postpone the date on which the defendant,

Stephanie DiPierro, must surrender for the service of her sentence from June 8, 2019, to June 11,

2019. In support of this request, the government states as follows:

       1.       On March 20, 2019, the government filed an Assented-To Motion to Postpone the

Defendant’s Date of Self-Surrender (ECF Doc. 39), in which the government asked to postpone

the defendant’s date of self-surrender from April 8, 2019, to June 8, 2019. This Honorable Court

granted the Motion on March 21, 2019. (ECF Doc. 41).

       2.       The Bureau of Prisons has advised that June 8, 2019, is not a suitable date for self-

surrender because it is a Saturday. The Bureau of Prisons has informed that a reporting date of

June 11, 2019, is appropriate.

       3.       Counsel for the defendant assents to this motion.




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                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

                                              By:     /s/ Karen B. Burzycki
                                                      Karen B. Burzycki
                                                      Special Assistant U.S. Attorney




                               CERTIFICATE OF SERVICE

        I, hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants.

                                                      /s/ Karen B. Burzycki
                                                      Special Assistant U.S. Attorney
Dated: April 5, 2019




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